                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )      Case No. 3:13-00153
       v.                                         )      Judge Aleta A. Trauger
                                                  )
DORIAN AYACHE and                                 )
THERESA VINCENT.                                  )

                                            ORDER

       For the reasons set forth in the accompanying Memorandum, defendant Dorian Ayache’s

Motion to Dismiss Count Ten of the Indictment (Docket No. 34), in which defendant Theresa

Vincent joined (Docket No. 47), is hereby DENIED.

       It is so ORDERED.

       Enter this 31st day of March 2014.

                                                  _____________________________
                                                  ALETA A. TRAUGER
                                                  United States District Judge




                                              1


  Case 3:13-cr-00153       Document 72       Filed 03/31/14   Page 1 of 1 PageID #: 904
